                Case 21-16139-LMI          Doc 2    Filed 06/24/21      Page 1 of 6




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:

HOLDWAVE TRADING LIMITED,                                      Chapter 15
                                                               Case No.:
         Debtor in a Foreign Proceeding.
- - - - - - - - - - - - - -I
      VERIFIED MOTION FOR ORDER OF RECOGNITION OF FOREIGN MAIN
    PROCEEDING PURSUANT TO §§ 1515 AND 1517 AND REQUEST FOR HEARING

         Nicholas Wood, Colin Diss, and Michael Leeds, the joint liquidators ("Joint Liquidators"

or "Foreign Representatives"), move this Court for entry of an Order recognizing the creditors'

voluntary liquidation ("UK Proceeding") of Holdwave Trading Limited ("Holdwave" or "Debtor")

subject to the control or supervision of the High Court of Justice Business and Property Courts in

Manchester Insolvency and Companies List (ChD) ("UK Court"), as a foreign main proceeding

under 11 U.S.C. § 1517, 1 granting related relief pursuant to§§ 1520 and 1521, and granting any

additional relief which may be available under the Bankruptcy Code. The Foreign Representatives

fmther request a hearing on the initial petition (ECF No. 1) ("Petition") and this Verified Motion

no earlier than (21) days after the date the Court issues its notice of hearing but, in any event, "at

the earliest possible time" thereafter. See Fed. R. Bankr. P. 2002(q); 11 U.S.C. § 1517(c).

                PRELIMINARY STATEMENT, JURISDICTION, & VENUE

         1.     The Foreign Representatives file the Petition and this Verified Motion under §

1504 to seek recognition of the UK Proceeding as a "foreign main proceeding," as defined in §

1502(4).



1
 All statutory references shall be to Title 11 U.S.C. § 101 et seq. ("Bankruptcy Code"), unless
otherwise specified.


                                            Page 1 of6
                 Case 21-16139-LMI         Doc 2     Filed 06/24/21      Page 2 of 6




          2.      The Petition and the Verified Motion are supported by the Declaration under

penalty of perjury of Colin Diss ("Declaration") attached as Exhibit 1. The Declaration itself

contains an exhibit referred to and incorporated herein. The Declaration also provides a summary

of the UK Proceeding, a substantial fraud claim brought against Holdwave by creditors, and the

conversion of the UK Proceeding to its current status as a creditors' voluntary liquidation subject

to the supervision of the UK Court.

          3.     A true and correct copy of the Order dated April 14, 2021 confirming the status of

the liquidation and the Joint Liquidators' appointment in the same ("Liquidation and Appointment

Order") is attached hereto as Exhibit 1-A. 2 The Foreign Representatives took office as the joint

liquidators for Holdwave pursuant to the resolution of creditors at a meeting duly convened for

that purpose on February 10, 2021. Ex. 1 ,r 4. The Foreign Representatives have acted in the

capacity as joint liquidators in the UK Proceeding continuously since Holdwave gave notice of

their appointments to Companies House in the UK on February 11, 2021. Id.

          4.     As required by Fed. R. Banla. P. 1007(a)(4), a Statement of Corporate Ownership,

in conformity with Fed. R. Banla. P. 7007.1 is attached hereto as Exhibit 2.

          5.     England and Wales is the center of main interests of the Debtor. Among other

considerations: England and Wales is the location of the Debtor's registered address. See Ex. 1 ,r

6. 3 The Foreign Representatives are unaware of any evidence that Holdwave conducted the

administration of its affairs other than from its registered office or that it had any establishment or

place of business outside England and Wales.



2
    Exhibit 1-A indicates the document attached to the Declaration as Exhibit A.
3
  See § 1516(c) ("In the absence of evidence to the contrary, the debtor's registered office, or
habitual residence in the case of an individual, is presumed to be the center of the debtor's main
interests.").


                                             Page 2 of 6
                Case 21-16139-LMI         Doc 2     Filed 06/24/21     Page 3 of 6




        6.      This Court has jurisdiction under 28 U.S.C. §§ 157 and 1334 and §§ I 09 and 150 l

of the Bankruptcy Code.

        7.      This is a core proceeding under 28 U.S.C. § 157(b)(2)(P).

        8.      Venue is proper in this district under 28 U.S.C. § 1410.               The Foreign

Representatives have retained Sequor Law, P.A. ("Sequor Law") in this district and Sequor Law

holds in its trust account in this District US$ 1,500 on behalf of and for the benefit of the Debtor,

to which funds Sequor Law has no rights of setoff, charging lien, or similar right. See Ex. 1 ,r 24.

                     BACKGROUND AND BASIS FOR RECOGNITION

       9.      The Declaration sets forth in detail the background and basis for recognition and it

is incorporated by reference as if fully set forth here. See Ex. 1.

       10.     The Foreign Representatives have satisfied each of the requirements for recognition

of the UK Proceeding under Chapter 15 of the Bankruptcy Code, as follows:

               (a)      The Foreign Representatives qualify as "foreign representatives" as defined

       in 11 U.S.C. §101(24) because they are persons authorized in the UK Proceeding to

       administer the liquidation of the Debtor's assets and affairs, and to act as a representative

       of the UK Proceeding.

               (b)     The UK Proceeding is a "foreign main proceeding" as defined in 11 U.S.C.

       § 101(23) and 1502(4), because it is (i) pending in England and Wales, which is the

       Debtor's center of main interests; and (ii) a collective judicial proceeding under a law

       relating to insolvency or adjustment of debt in which proceeding the Debtor's assets and

       affairs are subject to the supervision of the UK Court for the purpose of liquidation. See

       Ex. 1 ,r,r 3, 5, 6, 26; Ex. 1-A.




                                            Page 3 of6
                 Case 21-16139-LMI          Doc 2     Filed 06/24/21    Page 4 of 6




                 (c)       The Debtor meets the requirements of a "debtor" as defined in sections

        109(a), if applicable, and 1502 because the Debtor is the subject of a foreign proceeding

        and has assets in the United States, including property of the Debtor in trust with Sequor

        Law in the amount ofUS$1,500. See Ex. 1 ,r 24; Ex. 1-A.

                 (d)       This Verified Motion is accompanied by the Order of the UK Court, dated

       April 14, 2021, confirming the status of the liquidation and the Joint Liquidators'

        appointment in the UK Proceeding. See Ex. 1-A.

                 (e)      Additionally, the Declaration contains the list of all foreign proceedings,

       persons or entities that must be identified pursuant to 11 U.S.C. § 1515 and Fed. R. Bankr.

       P. 1007. See Ex. 1 ,r 31.

                                        RELIEF REQUESTED

       11.       The Foreign Representatives seek an Order pursuant to§§ 105(a), 1507, 1517,

1520, and 1521 of the Bankruptcy Code, substantially in the form of the Proposed Order, attached

as Exhibit 3 hereto, granting the following relief:

       (a) Recognizing the UK Proceeding as a foreign main proceeding and the Foreign

             Representatives as the duly authorized foreign representatives of the Debtor;

       (b) Granting the relief allowable as of right upon recognition of a foreign main proceeding

             under § 1520 of the Bankruptcy Code;

       (c) Granting all available and appropriate relief under § 1521 of the Bankruptcy Code,

             including:

                (1) staying the commencement or continuation of any action or proceeding without

                       the consent of the Foreign Representatives concerning rights, obligations, or




                                              Page 4 of 6
Case 21-16139-LMI          Doc 2     Filed 06/24/21       Page 5 of 6




    liabilities of the Debtor and the Debtor's bankruptcy estate, to the extent not

    stayed under§ 1520(a) of the Bankruptcy Code;

(2) staying execution against the Debtor, to the extent not stayed under§ 1520(a);

(3) suspending the right to transfer or otherwise dispose of any assets of the Debtor

    to the extent this right has not been suspended under § l 520(a);

(4) providing for the examination of witnesses, the taking of evidence, and the

    delivery of information concerning the assets, affairs, rights, obligations, or

    liability of the Debtor or the Debtor's estate under § 152l(a)(4), the Federal

    Rules of Bankruptcy Procedure, including Fed. R. Bank:r. P. 2004, and Local

    Rule 2004-1;

(5) entrusting the administration or realization of all of the Debtor's assets within

    the territorial jurisdiction of the United States to the Foreign Representative;

(6) entrusting the distribution of all or part of the Debtor's assets located within the

   United States to the Foreign Representatives and finding that the assets of the

   creditors of the Debtor are sufficiently protected thereby;

(7) requiring that other than a counterclaim to a suit brought by the Foreign

   Representatives, no person or entity may commence suit against the Foreign

   Representatives in any court, including this Court, in the United States without

   first obtaining leave of this Court;

(8) otherwise granting comity to and giving full force and effect to the orders and

   documents attached to this Motion; and

(9) granting the Foreign Representatives such other and further relief as this Court

   may deem just and proper.




                             Page 5 of 6
               Case 21-16139-LMI          Doc 2   Filed 06/24/21     Page 6 of 6




                                          CONCLUSION

       WHEREFORE, the Foreign Representatives respectfully request that this Court enter an

Order, substantially in the form of the Proposed Order attached hereto as Exhibit 3 and grant such

other relief as may be just and proper.

                               28 U.S.C. § 1746 VERIFICATION

       I verify under penalty of perjury under the laws of the United States of America that the

foregoing Verified Motion is true and correct.


                                      Executed in London, Unit ,    ingdom on _!_f June, 2021



                                                    d                     __J
                                      Colin Diss - as Joint Liquidator for Oceanroad Global
                                      Services Limited in the UK Proceeding

Dated: June 14, 2021                  Respectfully submitted,

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                                           Page 6 of 6
